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AO 187 (Rev. 7/87) Exhibit and Witness List



                                                  UNITED STATES DISTRICT COURT
                                           FOR THE WESTERN                            DISTRICT OF                      TENNESSEE



              UNITED STATES OF AMERICA                                                                             EXHIBIT AND WITNESS LIST
                         V.
                JEFFREY W. YOUNG, JR.                                                                                    Case Number: 1:19-cr-10040-JDB-1

PRESIDING JUDGE                                                        PLAINTIFF’S ATTORNEY                                    DEFENDANT’S ATTORNEY
                        Jon A. York                                                      Jason Knutson                                  Clairborne Ferguson
TRIAL DATE (S)                                                         COURT REPORTER                                          COURTROOM DEPUTY
                          4/18/2019                                                              FTR                                         A. Shulman
 PLF.      DEF.        DATE
                                       MARKED         ADMITTED                                             DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

             1       4/18/2019            Yes             Yes         State Board of Nursing Agreed Order




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                      Page 1 of     1   Pages
